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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF CALIFORNIA
SACRAMENTO DIVISION

UNITED STATES OF AMERICA, ex rel.
DENIKA TERRY and ROY HUSKEY III,
and each of them for themselves individually,
and for all other persons similarly situated and
on behalf of the UNITED STATES OF
AMERICA,

Plaintiffs/Relators,
VS.

WASATCH ADVANTAGE GROUP, LLC,
WASATCH PROPERTY MANAGEMENT,
INC., WASATCH POOL HOLDINGS,
LLC, CHESAPEAKE COMMONS
HOLDINGS, LLC, LOGAN PARK
APARTMENTS, LLC, LOGAN PARK
APARTMENTS, LP, and DOES 1-30,

Defendants.

Case No. 2:15 CV 0799 KIM DB
PROPOSED] ORDER RE-SETTING
CLASS CERTIFICATION HEARING
DATE

CLASS ACTION

Date/Time: No hearing set absent Court
order, per Standing Order

US. ex rel. Terry v. Wasatch Advantage Group
2:15 CV 07799 KIM DAD

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[PROPOSED] ORDER

. Pursuant to the stipulation of the parties in the above-entitled matter, and FOR GOOD
CAUSE SHOWN, the Court hereby orders the class certification hearing re-set to October 20,
2017 at 10:00 a.m. in Courtroom 3. The briefing schedule shall conform to the [existing] [new]
hearing date.

IT IS SO ORDERED.

Hon. Kimberly J. Mueller
UNITED STATES DISTRICT JUDGE

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